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    CAN RATIONAL CHOICE BE CONSIDERED A
    GENERAL THEORY OF CRIME? EVIDENCE FROM
    INDIVIDUAL-LEVEL PANEL DATA*

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            In the last few decades, rationalchoice theory has emerged as a bedrock theory in
         the fields of economics, sociology, psychology, and politicalscience. Although rational
         choice theory has been availableto criminologistsfor many years now, thefield has not
         embraced it as other disciplines have. Moreover, rationalchoice scholars have fueled
         this skepticism of the theory's generality by modeling offender decision making that is
         one-sided-largeon the costs of crime (sanctionthreats), short on the benefits of crime.
         In this article, we directly assess the generality of rationalchoice theory by examining
         a fully specified model in a population that is often presumed to be less rational-
         adolescentsfrom lower socioeconomicfamilies who commit both instrumental (prop-
         erty) and expressive crimes (violence/drugs). By using a panel of N = 1,354 individ-
         uals, we find that offending behavior is consistent with rationalresponses to changes
         in the perceived costs and benefits of crime even after eliminatingfixed unobserved
         heterogeneity and other time-varying confounders, and these results are robust across
         different subgroups. The findings support our argument that rationalchoice theory is
         a general theory of crime.

        Rational choice theory (RCT) has made important contributions to the social sciences
     and has become a prominent theoretical model within sociology, economics, psychology,
     and political science. Although there has been and continues to be considerable interest
     in RCT within criminology, many criminologists harbor great skepticism about it, partic-
     ularly its rationalist assumption and its ability to offer a general theory of crime (DeHaan
     and Vos, 2003; O'Grady, 2014; Pratt et al., 2006). A repeated criticism against RCT with
     respect to its generality has been that a theory that emphasizes the rational weighing of
     the costs and benefits of actions may be perfectly applicable to financial market deci-
     sions but not to criminal behavior, and even if applicable to crime, the theory is limited
     to explaining instrumental kinds of criminal acts such as property crimes and simply is
     not relevant for actions that are laden with strong affect such as violent crimes. Another


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      consistent criticism of the theory is that it is overly narrow in its conceptual scope: that
      it is a simplistic model that includes only the financial costs and gains from offending. In
      criminology, rational choice theory has been closely aligned with deterrence theory, and
      so specification of RC theoretical models have frequently only included a limited range
      of variables-those focused on formal and informal sanctions.
         Other criticisms are more parochial. Sociologically trained criminologists (a large share
      of the field) are frequently hostile to rational choice theory because it seems "too eco-
      nomic" and fails to take seriously the kinds of theoretical constructs that are at the heart
      of social theories of crime (Matsueda, 2013). This theoretical short-sightedness has also
      been passed on to those testing RC theory. In many cases, when it has been put to a test,
      it has consisted of only formal sanction variables (sticks) to the neglect of the many other
      factors that comprise the utility function of individuals (carrots). Many of the perceived
      problems that have been identified with rational choice theory in criminology, then, are
      of its own making 1 but needlessly so. Rational choice theory is a conceptually broader
      theory than both proponents have made it out to be and critics have taken it to be.
      Although formal sanctions are without a doubt an integral part of the theory, the per-
      ceived costs of crimes consistent with the theory include a much wider array of informal
      penalties and the perceived benefits include much more than financial remuneration. In
      fact, rational choice theory includes theoretical constructs that easily harmonize with sev-
      eral social theories of crime such as social control, routine activities, labeling theory, and
      others. In short, criminologists' understanding of rational choice theory has been myopic
      and the specification of rational choice models in the existing empirical literature has been
      sparse given its theoretical richness.
         Our aim in this article is to examine the conceptual generality of RCT by testing a more
      inclusive specification of the theory, one that includes a comprehensive collection of car-
      rots and sticks, in a sample of individuals that has demonstrated involvement in a mixture
      of both serious instrumental and violent offenses. We hope to demonstrate that many of
      the criticisms directed at the theory are off the mark mainly because critics have a far too
      narrow understanding of it and that the theory is far more inclusive than its critics realize.
      In the sections that follow, we will lay out our specification of the rational choice theory of
      crime by drawing on the economic model of crime by Gary Becker (1968) and show how
      that model differs in several important ways both from deterrence theory (in being far
      more general) and from the RCT model examined in previous criminological research,
      and that it includes variables that sociological criminologists should feel at home with.
      We then describe the intent of the present study, our sample, measures, and empirical
      strategy. We conclude with a discussion of the implications of our findings for the study
      of rational choice theory in criminology.




        1.   Skepticism about the theory's capacity to explain all crime was even expressed by Cornish and
             Clarke (1986: 1-2), two of the initial translators of rational choice ideas into criminology: "Its
             [RCT] starting point was an assumption that offenders seek to benefit themselves by their crimi-
             nal behavior; that this involves the making of decisions and of choices, however rudimentary on
             occasion these processes might be; and that these processes exhibit a measure of rationality, al-
             beit constrained by limits of time and ability and the availability of relevant information. It was
             recognized that this conception of crime seemed to fit some forms of offending better than others."
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           DETERRENCE VERSUS RATIONAL CHOICE THEORY
        Although the introduction of rational choice theory into criminology is most often at-
     tributed to Cornish and Clarke's (1986) The Reasoning Criminal, the foundation of our
     rational choice model of offending is to be found in Gary Becker's (1968) journal article
     "Crime and Punishment: An Economic Analysis." In this seminal work, Becker laid out a
     relatively simple premise, that a rational offender weighs a risky choice in which he or she
     will engage in the commission of a crime if the expected utility from committing the crime
     is greater than the expected utility from refraining from committing the crime. Although
     Becker's article has had wide influence on public policy in the nearly 50 years since it was
     published (see the discussion in Nagin, 2013), it has been somewhat less influential in con-
     temporary criminological research than one might reasonably expect and, as a result, has
     attracted surprisingly few direct empirical tests. Importantly, one can make a distinction
     between the wealth of empirical tests of deterrence, which are primarily aimed at testing
     components of Becker's (1968) theory such as the association between sanctions and/or
     perceptions of risk with offending (Chiricos and Waldo, 1970; Loughran et al., 2011; Pa-
     ternoster et al., 1983), and the more complete theory of rational choice, which provides
     a richer depiction of criminal decision making as predicted by Becker's (1968) model. In
     this article, we provide a comprehensive test of Becker's theory by using individual-level
     panel data on active and serious offenders for whom we observe detailed information on
     beliefs about risks, costs and benefits, and offending behavior.
        The key inputs of the choice calculus in Becker's (1968) model include p, the offender's
     probability of detection; f, the severity of the sanction one faces if apprehended; and
     Y, the utility benefits one accrues after the successful commission of the crime without
     apprehension. 2 In particular, Becker imagined the following equation, which describes a
     potential offender's utility as a function of the costs and benefits of crime:

                                    EU = pU(Y- f)+(1-p)U(Y)                                                (1)

     According to equation 1, if an offender commits a crime and is apprehended, he or she
     experiences utility associated with the criminal gain net of losses as a result of the criminal
     sanction. On the other hand, if the offender commits a crime and is not apprehended, he
     or she experiences utility associated with the criminal gain only. Deriving the first-order
     conditions of equation 1 leads to several predictions regarding the three main behavioral
     variables of rational choice-namely, that crime will rise in Y and will fall in both p and f.
     Given this framework, any test of rational choice theory must necessarily include each of
     these three components. Instead, what scholars have largely produced are studies aimed
     at only testing specific, constituent parts of rational choice theory, or what can be thought
     of as studies of deterrence. We now discuss how the empirical literature has been mainly
     concerned with testing the former.




      2.   Becker's (1968) model does not include celerity, although subsequently economists have argued
           for the primacy of time preferences in recent work (Lee and McCrary, 2009), and only a few crim-
           inologists have directly tried to test for celerity effects (Loughran, Paternoster, and Weiss, 2012;
           Nagin and Pogarsky, 2004).
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      DETERRENCE-RISKS AND COSTS
         The probability of detection (p) has been the variable most traditionally studied in the
      criminological literature on rational choice. This literature has made two primary con-
      tributions. First, a policy-oriented literature has considered the responsiveness of crime
      to various criminal justice interventions that have plausibly raised the objective proba-
      bility that an offender is apprehended for having committed a crime. This literature has
      documented evidence in favor of a negative relationship between crime and increases in
      police manpower (Evans and Owens, 2007; Lin, 2009; Marvell and Moody, 1996), "hot
      spots" policing (Braga, 2001; Sherman and Weisburd, 1995; Weisburd, 2005), "problem-
      oriented" policing (Braga et al., 2001; Braga et al., 1999; Weisburd et al., 2010), and ex-
      ogenous shifts in police redeployments (DiTella and Schargrodsky, 2004; Draca, Machin,
      and Witt, 2011; Klick and Tabarrok, 2005). Although this literature has identified robust
      evidence of a reduced form relationship between the intensity of policing and criminal
      activity, the extent to which such studies have provided a credible test of deterrence the-
      ory is debatable. In particular, the findings in this research have been equally consistent
      with an important role for incapacitation effects (Chalfin and McCrary, 2014; Durlauf and
      Nagin, 2011; Nagin, 1998). Moreover, by examining aggregate data, this literature has not
      spoken to the deterrability of specific types of offenders.
         A second type of literature has considered the responsiveness of crime to individual-
      level risk perceptions. The primary contribution of this wide-ranging literature has been
      to demonstrate the usefulness of individual subjective perceptions, as opposed to objec-
      tive clearance rates, as measures of individual risk, dating back to the work of Waldo
      and Chiricos (1972). Recent work with samples from the general population (Lochner,
      2007), high-risk youth (Matsueda, Kreager, and Huizinga, 2006), and serious offenders
      (Anwar and Loughran, 2011) has demonstrated that subjective risk perceptions are dy-
      namic and rationally updated to be reflective of new information. Much of this literature
      has been primarily concerned with the relationship between subjective risk perceptions
      and offending, and scholars have typically observed a weak, negative association that is
      usually interpreted as evidence of a slight deterrent effect of increased risk perceptions
      (see Apel, 2013, for an overview of this literature).
         However, these certainty studies have largely ignored several important components
      of Becker's (1968) more general rational choice model. First, although consensus strongly
      exists in the criminological literature that the certainty of punishment is the greater deter-
      rent mechanism than severity (Paternoster, 2010), the criminological literature has failed
      to demonstrate empirically that increases in p yield a greater reduction in offending than
      a comparably measured increase in f. Second, and more importantly, most criminolog-
      ical studies have been concerned with risk perceptions, or one's subjective belief about
      the true probability of detection, but often these studies have failed to make a distinc-
      tion between or even mention risk preferences, or an individual's tendency to prefer a
      less (more) risky option net of the expected value. Becker (1968: 178, emphasis added)
      highlighted this latter idea as an explanation for the certainty effect being stronger than
      the severity effect: "The widespread generalization that offenders are more deterred by
      the probability of conviction than by the punishment when convicted turns out to imply
      in the expected utility approach that offenders are risk preferrers,at least in the relevant
      region of punishments." Stated differently, the wealth of studies that have compared the
      association of perceptions and offending without considering preferences for risk have
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     been generally incomplete, perhaps providing insight as to why the empirical relationship
     between the two measures is often weak.
        The second component of Becker's (1968) model that has received considerable empir-
     ical investigation is the severity of punishment f. Studies of specific deterrence typically
     have conceptualized severity in terms of (longer) imprisonment spells, generally finding
     a null or sometimes criminogenic effect on future offending (Nagin, Cullen, and Jonson,
     2009). Variability in methodological validity aside, 3 these studies have failed in several
     ways to test more formally a fuller version of rational choice theory, instead testing only
     a narrow conceptualization of deterrence. First, most studies have failed to account for
     the simultaneous interplay between severity and certainty. In particular, the research typ-
     ically has assumed that the timing of shocks to the sanctions regime is as good as random
     insofar as it does not coincide with a broader effort to address crime through interven-
     tions that change the certainty of capture. Such assumptions are difficult to substantiate
     and have become the focal point for numerous controversies in the extant literature, the
     most prominent of which is the large and contentious literature on the deterrent effect of
     capital punishment (Chalfin, Haviland, and Raphael, 2013; Donohue and Wolfers, 2005;
     Durlauf and Nagin, 2011). Second, criminological theory has emphasized that possible
     costs to crime can include not only formal sanctioning such as imprisonment or fines but
     also informal sanctions such as the social costs of reputational embarrassment and shame
     (Grasmick and Bursik, 1990; Williams and Hawkins, 1986; Zimring and Hawkins, 1973).
     In other words, multiple sets of costs to crime must be considered when describing an
     offender's choice calculus.

     REWARDS TO OFFENDING
        It is the third component of Becker's (1968) model, the benefits from crime Y, which
     highlights the most compelling distinction between deterrence studies and the broader
     concept of rational choice, and it is through this that rational choice becomes a conceptu-
     ally broad, general theory of crime. As a result of severe data constraints, the literature
     on deterrence and offender decision making, even that which considers both certainty
     and severity, has tended to ignore the benefit side of the offender's decision calculus. The
     implicit assumption is that the perceived distribution of criminal benefits has remained
     unchanged, which seems to be difficult to justify on theoretical grounds. However, even
     if this assumption is met in a given data set, failing to consider whether changes in the
     benefits of crime lead to changes in offending leaves us with an incomplete test of ra-
     tional choice theory. Typically, the benefits or rewards of crime are conceptualized as a
     monetary return to criminal activity. Such returns might include the "loot" from a theft or
     profits from the sale of illegal drugs, each of which can be lucrative (Loughran et al., 2013;
     McCarthy and Hagan, 2001; Nguyen et al., 2015). Of particular importance is the net ben-
     efit of crime-that is, the returns to crime above and beyond the opportunity cost of time
     spent in criminal activity, typically operationalized by using a potential offender's legal
     wage or, alternatively, measures of local labor market conditions more broadly (Ehrlich,
     1973; Freeman, 1996; Grogger, 1998). Considering the net wage of crime emphasizes that


       3.   Nagin, Cullen, and Jonson (2009) highlighted the issues with selection bias in studies such as these,
            and they commented on the degree to which certain classes of studies are perhaps better equipped
            to yield internally valid estimates.
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      crime is costly not only because it is risky but also because it involves time that could
      otherwise be put to alternative use. Moreover, although public policy can potentially in-
      tervene to make legal work more rewarding, it is less clear how social planners can alter
      the rewards of illicit activities.
          Although few studies have documented the responsiveness of crime to the gains of
      illicit activity, the idea that offenders are potentially deterred by better legal employ-
      ment opportunities has been largely tested in the empirical labor economics literature
      with numerous recent studies finding robust evidence of a negative relationship between
      wages and employment rates and crime (Lin, 2008; Machin and Meghir, 2004; Raphael
      and Winter-Ebmer, 2001). As in the criminological literatures on the importance of cer-
      tainty and severity, empirical tests of legal labor market opportunities offer only incom-
      plete and suggestive evidence in favor of rational choice theory.
          An equally important consideration is that conceptualizing the benefits of crime in
      monetary terms provides only a limited understanding of the motivations underlying
      criminal activity. Indeed, according to Becker's (1968) model, the benefits from crime can
      be conceptualized in multiple ways beyond formal monetary returns, including perceived
      intrinsic or social benefits such as increased social standing or the pleasure and enjoyment
      solely derived from breaking society's rules (Katz, 1990).' Indeed, such an articulation of
      the benefits of crime is more broadly applicable to violent crimes that often lack an ex-
      plicitly instrumental motive, but "kicks" are an element of property crimes as well (Katz,
      1990). For example, Nagin and Paternoster (1993) operationalized benefits from offend-
      ing as "how much thrill or kick" an individual got from engaging in different types of
      offending. Furthermore, multiple studies have suggested that offenders are sensitive to
      rewards (Loughran et al., 2013; Pezzin, 1995). Any more comprehensive test of rational
      choice theory must therefore include components of criminal rewards against costs and
      risks to crime. Perhaps the best summary statement of a rational choice theory of criminal
      offending, one that clearly reveals its inclusion of a wide sweep of variables in addition to
      sanctions and sanction threats, was made by Matsueda (2013: 287), who argued that "the
      utility from crime is a function of the returns to crime plus income from conventional ac-
      tivity (each weighted by the probability of getting away with crime), plus the returns to
      crime and conventional activity minus the punishment for crime (each weighted by the
      probability of getting caught and punished)."
          In summary, the extant literature on testing a rational choice theory of crime has several
      shortcomings that prevent us from making larger generalizations about the prominence
      of rational choice theory in predicting criminal activity. First, deterrence studies test only
      partial components of the theory, such as the relationship between risk perceptions and
      offending, or the specific deterrent effect of imprisonment, and such studies do not al-
      low for comparisons between different components such as comparable changes in both.
      Second, many of the key concepts often are narrowly defined (e.g., imprisonment) and
      not fully operationalized in accordance with broader criminological theory. Third, most
      tests of deterrence fail to consider the reward side of an offender's decision calculus. It is

       4.   Also consider Bentham's (1789: 2) much more widely inclusive definition that signals the utility
            of psychic benefits: "that property ... whereby it tends to produce benefit, advantage, pleasure,
            good, or happiness." Becker (1968: 10) too used the term "psychic" to describe the affective gains
            of offending: "Y is his income, monetary plus psychic [utility] from an offense."
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     probably not unreasonable,therefore, to think that many of the criticisms directed at ratio-
     nal choice theory as not yet ready to be a general theory may be in part a result of the stunted
     way in which the theory has been conceptualized and tested as well as misunderstood.

     TESTS OF RATIONAL CHOICE THEORY
        To our knowledge, only a few studies in criminology have examined the rational choice
     model to provide a test of Becker's (1968) rational choice theory by using individual-
     level data. 5 Witte (1980), in using a sample of released prisoners in North Carolina, found
     that increases in certainty and severity reduced participation in future crime, although a
     percent increase in certainty had a comparatively larger impact than a percent change in
     severity. Second, she found that although higher (legal) earnings did deter future crime,
     the effect was weak. In contrast, Myers (1983), in using a sample of federal releases, found
     only a slight severity effect and a positive relationship between certainty and future crime.
     Piliavin et al.'s (1986: 101) work most closely parallels our own. In arguing for a broader
     rational choice model of crime, they urged that "[a] more fruitful approach to the issue
     of deterrence would examine the relationship between formal sanctions and crime from
     within an explicit theoretical framework." Piliavin and colleagues estimated a rational
     choice theoretical model that included factors as accrued legal and illegal earnings, as well
     as the perceived formal and informal costs of punishment, but did not include indicators
     of what Becker (1968) would consider the "psychic" gains of criminal offending. Nev-
     ertheless, they found that for three diverse samples of offenders (adult criminals, adult
     addicts, and youths), offending was related to the anticipated rewards of offending (and
     to the presence of criminal opportunities) but not to the perceived costs. Pezzin (1995)
     and Uggen and Thompson (2003) both applied versions of Becker's (1968) human capital
     theory to criminal offending. By using the National Longitudinal Survey of Youth, Pezzin
     (1995) found that those with greater criminal earnings were more likely to continue of-
     fending over time, whereas those with higher legal earnings were more likely to terminate
     their offending. By focusing on the factors explaining illegal income, Uggen and Thomp-
     son (2003) found that illegal earnings were positively related to arrest experiences, drug
     use, and criminal opportunities, whereas they were inversely related to conventional em-
     beddedness (employment and ties to a spouse or partner). Both sets of findings confirm
     the importance of a major component of a rational choice theory of crime-the returns to
     illegal and legal employment. As with Piliavin et al. (1986), however, neither of these two
     studies examined other components of the rational choice model such as the perceptions
     of informal costs and the anticipated psychic rewards of crime. More recently, Matsueda,
     Kreager, and Huizinga (2006) articulated and tested a rational choice model of theft and
     violence. Appealing to Becker's (1968) model, Matsueda, Kreager, and Huizinga (2006:
     96) argued that individuals will engage in crime when the "expected utility from com-
     mitting crime is greater than expected utility from not committing a crime." In examin-
     ing the responses to the Denver Youth Survey, they found partial support for a rational
     choice model of crime. Offending was inversely related to the perceived risk of arrest and



       5.   Several other studies have tested the model at a macro level by using panel data (Cherry and List,
            2002; Cornwell and Trumbull, 1994).
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      positively related to psychic costs, such as the perceived excitement and coolness of the
      crime and the perceived opportunities to offend. Although it was a comprehensive ra-
      tional choice model, Matsueda, Kreager, and Huizinga had no measures of the informal
      costs of offending or of the trade-off between legal and illegal earnings.
         Although these studies are important in that they have provided informative tests of
      Becker's (1968) RCT theory, they nonetheless each have several limitations. First, no one
      study included a full panoply of the perceived informal costs and nonfinancial rewards
      of offending. Second, in some studies, offending was measured in terms of official, not
      self-reported, offending. Third, many of the key measures in several studies were either
      aggregated or unobservable altogether (e.g., the subjective probability of detection or
      returns to offending). Finally, and most importantly, the data in some of these studies
      were cross-sectional, which means that potentially important unobserved heterogeneity
      was left unaccounted for. Multiple criminological theories posit that time-stable, unob-
      served population heterogeneity could be an important confounder driving the findings
      of these studies (Gottfredson and Hirschi, 1990; Nagin and Land, 1993). Moreover, the
      lack of panel data prevents a deeper understanding of how changes in preferences over
      time within individuals contribute to their changing choice calculus. Finally, in arguing
      for a greater inclusion of rational choice into criminological theory, McCarthy (2002: 437)
      articulated the need for more acute tests of the theory with finer, longitudinal measures,
      when noting the following:
          [S]ociological criminologists must move beyond the assumption that all offenders
          share the same preferences. ... Individual preferences vary over time ... crime pro-
          vides an array of returns, and people differ in their assessments of crime's costs and
          benefits. Future theory and research must begin by specifying the preference order-
          ings that contribute to offending and then explicate how particular contexts or struc-
          tural configurations encourage people to choose crime as a means of satisfying their
          preferences.

                                    THE PRESENT STUDY
         This study aims to provide a more inclusive test of criminological rational choice theory
      as it is conceived of in Becker's (1968) economic model of criminal offending by using
      individual-level panel data from a sample of juvenile and young adult serious offenders in
      two U.S. cities. The nature of the data provides us with several advantages over the tests
      discussed earlier. First, we observe individual-specific measures of multiple dimensions
      of costs and rewards to crime, including social and personal costs, along with subjective
      beliefs about detection probability. Second, we observe detailed self-reports of offending
      variety and frequency, which we can disaggregate by crime type. Third, the panel data
      allow us to eliminate fixed, unobserved heterogeneity as a possible confounder. Fourth,
      we can test for heterogeneity in responsiveness to costs, risks, and rewards in several ways,
      including type of offending behavior-property versus violent.
         Our intention, therefore, is first to construct a comprehensive rational choice model of
      offending and then to test empirically that model within a group of disadvantaged adoles-
      cent offenders of both property and violent crimes to gauge how general RCT theory is.
      If the hypotheses of the theory are supported within a group where it is least likely to be
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     applicable, because the population of individuals is thought to be less rational, then we
     think it can lay claim to being a general theory. To provide an even more comprehen-
     sive test of the generality of the RCT model, recall that Becker's (1968) RCT theory also
     considers the possibility that there is important heterogeneity in how responsive certain
     individuals are to costs and rewards. Therefore, we also test the idea of "differential ratio-
     nal choice," the idea that different subsets of economically disadvantaged offenders may
     be more or less responsive to changes in risks, costs, and benefits. Specifically, we con-
     sider differences based on gender and race but also based on what might be thought of as
     criminal propensity (Gottfredson and Hirschi, 1990). Competing theoretical arguments
     debate whether those individuals high in criminal propensity are either less (Gottfred-
     son and Hirschi, 1990; Wilson and Herrnstein, 1985) or more (Pogarsky, 2002; Thomas,
     Loughran, and Piquero, 2013; Wright et al., 2004) likely to be influenced by considerations
     of the cost and benefits of offending. We create an indicator for high-criminal-propensity
     individuals based on several baseline risk factors for persistent offending to push the no-
     tion of the generality of RCT further.

                                   DATA AND METHODS
      SAMPLE
        We analyze data from the Pathways to Desistance study, a longitudinal investigation
     of the transition from adolescence to young adulthood in serious adolescent offenders
     (Mulvey, 2012). Study participants are adolescents who were found guilty of a serious of-
     fense (almost entirely felony offenses) in the juvenile or adult court systems in Maricopa
     County (Phoenix), AZ, or Philadelphia County, PA. These youth were 14 to 17 years of
     age at the time of enrollment into the study. A total of 1,354 adolescents are enrolled in
     the study, representing approximately one in three adolescents adjudicated on the enu-
     merated charges in each locale during the recruitment period (November 2000 through
     January 2003). The study sample comprises mainly non-White (44 percent African Amer-
     ican and 29 percent Hispanic) males (86 percent), who were, on average, 14.9 years old
     at the age of their first petition, with an average of three petitions prior to the baseline
     interview. In addition to being from urban areas, the sample is mostly poor (54 percent of
     the respondents reported family income at $25,000 or less, and 70 percent reported family
     income $35,000 or less).
        In this analysis, we use data collected at ten consecutive follow-up interviews, the first
     six of which correspond to 6-month observational periods over 36 months, whereas the
     last four correspond to yearly observation periods for a total of 84 months. In each period,
     we observe, for each individual, the self-reported number and types of crimes he or she
     commits, if any, during the observation period, along with detailed information regarding
     the risks, costs, and rewards to offending, which will be defined.

      MEASURES
        We use three primary types of measures: 1) data on self-reported criminal activity, 2)
      data on the perceived costs and benefits of crime, and 3) survey data describing each
      individual's experiences and circumstances. In particular, the indices of costs and rewards
      were adapted for the Pathways study based on previous work by Nagin and Paternoster
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      (1994). For each of these measures, a full list of included items and relevant psychometric
      properties is available at the study website: http://www.pathwaysstudy.pitt.edu.

      SELF-REPORTED OFFENDING

         The number of crimes an individual commits is derived from his or her self-reported
      offenses (SROs) recorded in each period. This measure is a revised version of a common
      self-reported delinquency measure of the number of crimes committed (Huizinga,
      Esbensen, and Weiher, 1991). In each period, an individual is asked whether he or she
      committed each of these 10 crimes during the recall period and, if so, how many times.
      Although the data allow us to consider offending frequency, this measurement approach
      has potentially serious shortcomings, as shown by Sweeten (2012). As such, we also use
      a variety score measure (i.e., the number of different types of criminal acts in which the
      individual reported engaging). As a result of granularity in the data, we classify each
      crime into one of three broad aggregates: 1) acquisitive crimes, 2) drug crimes, and
      3) violent crimes. Acquisitive crimes include the following activities: breaking into a
      dwelling to steal, shoplifting, buying or receiving stolen property, using a check or credit
      card illegally, theft of a vehicle, carjacking, taking property by force with or without a
      weapon, or breaking into a vehicle to steal. Drug crimes refer to the sale (but not to
      the consumption) of narcotics. Finally, violent crimes include forcing another person to
      have sex, murder, shooting at someone regardless of whether the person was struck by
      the bullet, assaults involving a serious injury,
                                                    6
                                                        or participation in gang assaults. Violent
      crimes  do not  include self-reported fights.

      PERCEIVED RISK

        At each observation period, individuals were asked how likely it is that they would be
      caught and arrested for each of the following crimes: fighting, robbery with gun, stabbing
      someone, breaking into a store or home, stealing clothes from a store, vandalism, and auto
      theft. Response options ranged from 0 (no chance) to 10 (absolutely certain to be caught).
      The mean of these seven items was calculated for each individual at each observation
      period. The measure displayed high internal consistency (a = .89 at baseline).

      PERCEIVED PERSONAL REWARDS

         The personal rewards of crime were measured by asking each individual how much
      "thrill" or "rush" it is to do any of the following things: fighting, robbery with gun, stab-
      bing someone, breaking into a store or home, stealing clothes from a store, vandalism,
      and auto theft. If the individuals had reported never doing any of these things, they were
      asked to give a rating for how much thrill or rush they thought it would be. Response
      options ranged from 0 (no fun or kick at all) to 10 (a great deal of fun or kick). The mean
      across all items was then taken for each individual at each observation period, and the
      item had good internal consistency (a = .88 at baseline).


       6.   We note that the distinction we have drawn between violent and property crimes does not accord
            with that used by the Federal Bureau of Investigation's (FBI's) Uniform Crime Reports System.
            Although the FBI records robberies as violent crimes (crimes again persons), we have chosen to
            classify robbery as an acquisitive crime because of its largely instrumental motivation.
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     PERCEIVED SOCIAL COST

       The social cost of crime was measured by asking each individual if the police were
     to catch him or her doing something that breaks the law, how likely it is that he or she
     would be suspended from school, lose respect from close friends, lose respect from family
     members, lose respect from neighbors or other adults, lose respect from a girlfriend or
     boyfriend, or find it harder to get a job. Response options ranged from 1 (very unlikely)
     to 5 (very likely). This measure might reasonably be thought of as extralegal costs. The
     mean across all items was then taken for each individual at each observation period, and
     the item had acceptable internal consistency (ce = .76 at baseline).

     PERCEIVED SOCIAL REWARDS

       The social rewards to crime were measured by asking each individual how much he
     or she agreed or disagreed with several statements about how other people might react
     to the three different crimes: stealing (e.g., "If I take things, other people my age will
     respect me more"), fighting (e.g., "If I beat someone up, other people my age will respect
     me more"), and robbery (e.g., "IfI rob someone, people my age will be afraid to mess
     with me"). Response options ranged from I (strongly disagree) to 5 (strongly agree). The
     mean across all items was then taken for each individual at each observation period, and
     the item had good internal consistency (a = .82 at baseline).

     LEGAL AND ILLEGAL EARNINGS

       For each observation period, we observed how much money each individual reported
     earning from activities that were legal as well as illegal.

                                                   MODEL
      We estimate a descriptive model of individual-level rational choice theory that
     motivates the following regression:
                     J                                                                                     (2)
                    Yi           +
                       = C1+ 01lPit       P 2 fit+ P3Ylit + P4 Y2it + XiiY + Oi +r        +    it

        In equation 2, Y represents the number of crimes of type J committed by individual i
     in time period t. Pit represents an individual's perceived probability of apprehension, fi,
     represents an individual's perception regarding the severity of the criminal sanction, and
     Ylit and Y2it represent an individual's social and personal rewards of crime, respectively.
     Xit is a vector of time-varying control variables that address changes in an individual's
     circumstances that are likely to co-vary with both criminal activity and perceptual deter-
     rence variables. Included in Xit are an individual's age, the proportion of the time period
     spent in prison or jail, 7 whether an individual witnessed a relative be arrested, the num-
     ber of different violent crimes an individual was the victim of and the number of different


       7.   As an additional sensitivity check, we estimated each model excluding those individuals who were
            incapacitated and out of the community for the entire observational period. These results, which
            are substantively similar, are available as part of the online supporting information in table S1.
            (Additional supporting information can be found in the listing for this article in the Wiley Online
            Library at http://onlinelibrary.wiley.com/doi/10.1111/crim.2016.54.issue-1/issuetoc.)
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      Table 1. Summary Statistics (N = 1,354)
                                                              Standard                                 Within-Respondent
      Variable                                       Mean     Deviation    Minimum       Maximum       Share of Variation
      A. Self-Reported Crimes
        All Crimes (Frequency)                       23.58      85.13            .0         500.0              .28**
        All Crimes (Variety)                            .71      1.64            .0          15.0              .39**
        Theft and Robbery (Frequency)                 4.01      28.20            .0         500.0              .22**
        Drug Crimes (Frequency)                      20.09      79.60            .0         500.0              .27**
        Violent Crimes (Frequency)                      .60      9.14            .0         500.0              .12*
        Legal Share of Earnings                         .81        .37           .0           1.0              .55**
      B. Model Parameters
        Certainty of Apprehension (P)                 5.61        2.97           .0          10.0              .51*
        Severity of Sanction (f)                      3.15          .93         1.0           5.0              .42**
        Social Rewards (Y1)                           1.88          .52         1.0           4.0              .47**
        Personal Rewards (Y2)                         1.79        2.33           .0          10.0              .55**
      C. Key Covariates
        Age                                          19.30        2.37        14.5          26.0               .23**
        Proportion of Time Spent Incarcerated          .33         .42          .0           1.0               .49**
        Relative Arrested                              .12         .32          .0           1.0               .25**
        Number of Victimizations                       .20         .59          .0           5.0               .23**
        Number of Crimes Witnessed                     .96        1.43          .0           7.0               .38**
        Gang Membership                                .09         .28          .0           1.0               .61*
        Male with Pregnant Partner                     .06         .24          .0           1.0               .16*
        Birth of a Child                               .07         .26          .0           1.0               .13*
      NOTES: The table reports summary statistics-the mean and the standard deviation, as well as the minimum
      and maximum values for each variable used in subsequent analyses. We also report the proportion of variation in
      each variable that is explained by respondent fixed effects (within-variation in an analysis of variance). Statistical
      significance refers to the p value from an F test on the respondent fixed effects.
      **p < .01 (two-tailed).


      violent crimes an individual witnessed, whether the individual reported a gang affiliation,
      whether the individual had a pregnant significant other, and whether the individual re-
      ported the birth of a child during the time period. Finally, Oi and pt represent individual
      and time period fixed effects, respectively, that account for time- and individual-invariant
      unobserved heterogeneity. In practice, given that individuals in the data set live in two
      U.S. cities-Philadelphia and Phoenix-we condition on individual and interacted city-
      by-time period fixed effects that allow global time trends in criminal activity to vary by
      site. The coefficients P1, 0l2, P3, and 64 provide a test of each element of rational choice
      theory with respect to the four primary behavioral variables suggested by Becker (1968).
      Accordingly, a joint test of the inclusion of these four variables provides an omnibus sig-
      nificance test of the contribution of rational choice theory in understanding offending
      behavior.

      EMPIRICAL STRATEGY
        Although we have motivated the model by using least-squares regression, in practice,
      the distribution of the primary dependent variables in our data is most consistent with a
      count regression model. Our analysis, therefore, uses Poisson regression (Osgood, 2000).
      Although a review of table 1 indicates that the mean and variance are substantially dif-
      ferent for each of our three crime types and that formal tests for overdispersion indicate
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     that it is present, we nevertheless elect to use Poisson regression over negative binomial
     regression for two reasons.
         The first reason is practical-as our models contain between 500 and 1,000 individ-
     ual fixed effects, we require an estimator that will return consistent estimates of the
     behavioral parameters of interest. Although fixed effects are estimated consistently
     in a linear panel data model, nonlinear models pose a substantial challenge to esti-
     mating fixed-effects parameters. To the extent that the fixed effects are related to the
     time-varying independent variables in the model, nonlinear models may yield incorrect
     estimates of the deterrence parameters of interest as a result of the problem of incidental
     parameters (Allison and Waterman, 2002; Kalbfleisch and Sprott, 1970). Although
     parameter estimates arising from a negative binomial regression with fixed effects will
     differ depending on whether an unconditional or a conditional maximum likelihood
     function is used, the likelihood function in Poisson regression is equivalent to that of the
     multinomial logit model, and accordingly, the unconditional and conditional likelihood
     functions yield identical parameter estimates (Allison and Waterman, 2002; Cameron
     and Trivedi, 1998). The second and more compelling reason is simplicity as robustness
     checks using a conditional fixed-effects negative binomial model (Hausman, Hall, and
     Griliches, 1984) return results that are qualitatively extremely similar to those obtained
     via Poisson regression, which suggests that overdispersion is not much of an issue. We
     include the main results of this sensitivity analysis for comparison.
         Prior to presenting results, it is worth considering the limitations that are inherent in
     our modeling exercise and, given these limitations, how the parameters Pl1, P2, f3, and
     Pl4 are best interpreted. Our approach to testing an individual-level model of deterrence
     is not directly motivated by a natural experiment and, as such, is necessarily descriptive.
     Although we condition on a rich vector of covariates and include a powerful set of fixed
     effects to account for various types of fixed unobserved heterogeneity, the four behavioral
     parameters cannot be said to arise from any sort of experimental manipulation, natural or
     otherwise. Indeed, there are presumably many reasons why an individual might change
     his or her perceptions regarding the risk and rewards of criminal activity; for example, en-
     gaging in criminal activity provides information to respondents about the risk and rewards
     of crime (Anwar and Loughran, 2011; Lochner, 2007; Matsueda, Kreager, and Huizinga,
     2006) at a level of temporal granularity that our data simply cannot capture (i.e., updat-
     ing occurs at a frequency that is greater than every 6 months). Ultimately, we discuss
      the estimated parameters as associations rather than as causal effects, which we argue
      are still of fundamental interest. Conditional on the usual assumptions regarding omitted
     variables, the regression described in equation (2) provides insight into which behavioral
      parameters are more highly correlated with criminal activity, regardless of whether crime
      is sensitive to the variable or the variable is sensitive to criminal activity.

                                             RESULTS
     SAMPLE CHARACTERISTICS
        Table 1 reports the selected descriptive statistics for each variable used in subsequent
     models. For each variable, we report the mean and the standard deviation, as well as the
     minimum and maximum values. We also report the within-respondent share of the varia-
     tion to provide the reader with a sense for the degree to which each variable varies within,
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      as opposed to between, individuals. As our subsequent models condition on respondent
      fixed effects, we ultimately retain only the within-individual share of the overall variation.
          Panel A considers each dependent variable we examine. Overall, over a given report-
      ing period, the average individual in our sample reports having committed 23.58 crimes,
      which is an average of 2.82 crimes per month. The data are highly skewed with 73.38 per-
      cent of respondent time periods yielding zero reported crimes. Likewise, 27 percent of
      the sample reports never having committed a crime, while just 2.5 percent of the sample
      reports having offended in all ten time periods in our data. With respect to the upper
      range of the data, we have elected to top code very high values of reported crime at 500.
      This translates to approximately 20 crimes per week, which we view as not implausible for
      drug crimes, as well as for petty acquisitive crimes such as shoplifting. On average, respon-
      dents report having committed 4.0 thefts, 20.0 drug crimes, and just .6 violent crimes per
      6-month period. Intuitively, most variation in the criminal activity is between rather than
      within individuals, implying a prominent role for the fixed effects in purging the model of
      unobserved unit-specific heterogeneity.
          With respect to the share of earnings obtained legally, the data show that, overall,
      81 percent of reported earnings have a legal source. The prominence of legal earnings
      varies by age with respondents younger than 17 years of age reporting that 73 percent
      of earnings are legal, whereas adults report that 82 percent of earnings are legal. With
      respect to cross-sectional heterogeneity, 47 percent of the panel report legal earnings but
      never report any illicit earnings, whereas slightly less than 5 percent of the sample reports
      illicit earnings but no legal earnings. Overall, 42 percent of the sample reports both legal
      and illicit earnings at some point during the 4-year period, whereas 6 percent report no
      earnings data at all.
          Panel B of table 1 reports descriptive statistics for the key model parameters prior to
      z score standardization. Each of the following analyses employs standardized forms of
      these key model parameters to facilitate comparative tests and ease of interpretation.
      Overall, approximately half of the variation in the model parameters is within-individual
      variation and the remaining half is between-individual variation. The degree to which per-
      ceptions shift over time for a given individual is perhaps surprising and provides a rich de-
      gree of variation with which to identify the association between perceptual variables and
      crime.
          Finally, Panel C reports descriptive statistics for each covariate we condition in our pri-
      mary models. Overall, for the average time period in the sample, individuals are slightly
      older than 19 years of age. Respondents are as young as 14.5 and as old as 26.0. Given
      the high degree of criminal involvement in the sample, it is perhaps not surprising that in-
      dividuals spend approximately one third of their time incarcerated in prison or jail. With
      respect to individual experiences, 12 percent of the sample has a relative who is arrested
      in a given time period and the typical individual reports being the victim of .2 different vi-
      olent crimes per recall period (or 2.0 different violent crimes over the ten recall periods).
      These individuals also report having consistently witnessed violent crimes, on average,
      one type of violent crime witnessed per recall period. In a given time period, 9 percent
      of the sample reported being a member of a gang with most of the overall variation oc-
      curring between rather than within individuals. In a given time period, 6 percent of the
      respondents are males with a pregnant girlfriend or spouse and 7 percent of respondents
      report that either they or a significant other have given birth to a child.
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      Table 2. Model-Based Tests of Rational Choice Theory
                                                            (1)           (2)          (3)        (4)          (5)
                                                        All Crimes     Theft and      Drug      Violent    Legal Share
      Variable                                           (Variety)     Robbery       Crimes     Crimes     of Earnings
      Certainty of Apprehension (P)                       -. 138**      -. 238**     -. 150**   -. 165*         .018**
                                                          (.025)        (.078)       (.044)     (.080)         (.006)
      Severity of Sanction (f)                            -.010           .064       -. 073     -. 044          .002
                                                          (.022)         (.072)      (.047)     (.131)         (.006)
      Social Rewards (Y1)                                   .173**        .202*         100t      .336**      -. 021**
                                                          (.026)         (.082)      (.051)     (.069)         (.006)
      Personal Rewards (Y2)                                 .152**        .233**       .093f      .062        -. 025**
                                                          (.022)        (.084)       (.049)     (.089)        (.007)
      Joint Tests of Model Parameters
        Chi-squared statistic on model parameters         142.5**        37.0**       22.6**     45.8**
        F statistic on model parameters                       ...                                  .            8.7**
      Chi-Square Tests on Individual Restrictions
        P=f                                                14.6**         6.5*          1.3        .8            3.3t
        P = -Y1                                             1.0            .1            .6       5.8*            .1
        P = -Y2                                              .2            .0             .8       .6             .4
       f = -Y1                                             22.0**         5.0*            .2      5.9*          5.2*
       f= -Y2                                              18.8**         6.2*            .1       .0           5.8*
        Y1 - Y2                                              .4            .1             .0      3.9*             .2
      Cross-sectional n                                     965           752          675        551          1,252
      NOTES: Estimates presented are regression coefficients, and cluster-robust standard errors that account for
      within-respondent dependence are reported in the parentheses below the coefficient estimates. In columns (1)-
      (4), we report the results of a Poisson regression of the variety or frequency of crimes a respondent reports
      having committed during the recall period on four behavioral parameters implicit in rational choice theory.
      The z score of each behavioral parameter is used for ease of interpretation. Column (5) reports the results of
      a least-squares regression on the proportion of earnings that are earned in the legal sector during the recall
      period on the same four behavioral parameters. All models condition on the respondent's age, the percentage
      of a respondent's time spent in custody, as well as additional control variables and interacted site-by-period and
      respondent fixed effects.
      tp < .10; *p < .05; **p < .01 (two-tailed).


      MAIN ANALYSIS
         The top panel of table 2 presents Poisson regression estimates for the model presented
      in equation (2) for each of several different crime types. Column (1) presents estimates for
      a variety of all crimes committed in the recall period. Columns (2), (3), and (4) present es-
      timates for income-generating crimes (theft and robbery), drug crimes, and violent crimes,
      respectively. For these three outcomes, we report estimates by using frequency rather
      than variety given the limited amount of crimes in each category. 8 Finally, in column (5),
      we present least-squares estimates for the share of total earnings that derive from legal (as
      opposed to illicit) sources. Estimates and robust standard errors clustered on the respon-
      dent are reported for the four behavioral parameters implicit in rational choice theory.
      Beginning with column (1), we estimate that a 1 standard deviation increase in an indi-
      vidual's perceived certainty of apprehension is associated with a .14 decline in the natural
      logarithm of types of crime, which is a 13 percent reduction. Likewise, a 1 standard devi-
      ation increase in perceived severity is associated with a 1 percent reduction in offending,

        8.   We also estimated results by using variety scoring for the crime-specific outcomes. These results
             are substantively similar and are available as part of the online supporting information in table S2.
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     although the parameter is not precisely estimated. With respect to the perceived benefits
     of crime, a 1 standard deviation increase in the social and personal rewards of crime is
     associated with a 19 percent and 16 percent increase in offending, respectively.
        Given that the average individual reports committing .71 different infractions in a
     recall period, the models predict that a 1 standard deviation increase in certainty is
     associated with -. 09 fewer types of crimes, whereas a 1 standard deviation increase in
     social or personal rewards is associated with -. 13 and -. 11 additional types of crimes,
     respectively. Thus, although three of the four behavioral parameters are significantly
     associated with changes in offending, the magnitudes of these parameters are best
     characterized as important but not as large relative to baseline.
        Column (2) presents results for instrumental crimes that we characterize as theft and
     robbery. Here we see that a 1 standard deviation increase in certainty reduces log crime
     by -. 24 (21 percent), whereas a 1 standard deviation increase in social rewards and per-
     sonal rewards increases log crime by .20 (22 percent) and .23 (26 percent), respectively.
     Interestingly, the coefficient on severity is close to zero and falls in the opposite direc-
     tion, indicating that perceived changes in the severity of sanctions are not associated with
     changes in acquisitive crimes, a finding that may be rationalized by the fact that such
     crimes are rarely punished. Overall, given that the average individual in the sample re-
     ports committing four acquisitive crimes per 6-month period, a 1 standard deviation in-
     crease in certainty and a 1 standard deviation decrease in perceived personal rewards
     would reduce theft by .84 and 1.04 crimes per year, respectively. Again, assuming that
     2 percent of a city's population is sensitive to such changes, these parameter estimates
     translate to annual decreases in theft of approximately 1,700-2,100 in a city of 100,000
     residents.
        Column (3) reports results for drug crimes. Here, a I standard deviation increase in
     certainty reduces the number of drug crimes by 14 percent. Likewise, both personal and
     social rewards are drivers of drug crime (p < .10), a finding that accords with ethnographic
     research on young drug offenders (Venkatesh, 2008; Wright and Decker, 1994). For drug
     crimes, some evidence exists that the severity of the sanction is more important, although
     the parameter estimate is not significant at conventional levels of significance. Column (4)
     reports the same results for violent crimes. Here the finding is that violent crimes are, to
     a large degree, driven by perceived social rewards. A 1 standard deviation increase in the
     perceived social rewards is associated with a 40 percent increase in criminal activity.
        Finally, in column (5), we report results for a least-squares regression of the share of
     earnings obtained in the legal sector on the same regressors included in models (1)-(4).
     The evidence is consistent with a rational reallocation of time spent in legal versus illicit
     activities in response to changes in perceptions of the benefits of criminal activity. In par-
     ticular, a 1 standard deviation increase in certainty is associated with a 1.8 percentage
     point increase in the legal share of earnings, whereas the perceived rewards of crime are
     associated with a 2.0 to 3.0 percentage decrease in this variable. Interestingly, the nega-
     tive coefficient on social rewards implies that offenders are, other things equal, willing to
     trade off legal earnings for social status. As in models (1)-(4), little evidence exists of a
     relationship between criminal activity and perceived sanction severity.
        Overall, the pattern of the results suggests that offenders behave in a rational way with
     respect to perceived changes in the costs and benefits of crime. In this population, which
     many assume to be motivated more by irrational, emotional factors, both the benefits
     and costs of behavior seem to matter, and the rational consideration of costs and benefits
     characterize both property and expressive crimes such as violence and drug offenses alike.
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     Below the coefficient estimates in table 2, we provide a formal omnibus test for the sig-
     nificance of rational choice theory, operationalized as a joint test of the model's four key
     parameters. For the Poisson regression models in columns (1)-(4), this was done by using
     a likelihood ratio test with a critical value of X 2 with four degrees of freedom of 9.49. In
     column (5), we use an F test that, in a large sample, and given four parameters has a crit-
     ical value of 2.37. For all five dependent variables, we can reject the null hypothesis that
     rational choice has no predictive power at a = .01, indicating that offenders are at least
     somewhat responsive to risks, costs, and rewards.
        The final rows of table 2 present the results of tests of the set of pairwise linear restric-
     tions on the equality of individual model parameters for the rational choice measures.
     These tests allow us to draw inferences regarding whether offenders are, in fact, more
     responsive to certainty than to severity or whether they are more responsive to the per-
     ceived rewards of crime than to its costs. Because the theoretically expected signs on the
     estimates vary with certainty and severity expected to generate negative coefficients and
     the social and personal rewards measures expected to generate positive coefficients, for
     four of the six pairs of tests, we test whether one parameter estimate is equal to -1 times
     the other parameter estimate. We first consider the equality of certainty (p) and sever-
     ity (f) as this comparison has generated considerable discussion in the extant literature
      (Nagin, 2013; Paternoster, 2010). Although both parameter estimates are negative, for all
      crimes, we can reject (p < .01) that the two estimates are equal, providing direct evidence
      that offenders are, in fact, more responsive to certainty than they are to severity. This is also
      true for acquisitive crimes (p < .05). However, given the precision of our estimates, we
      cannot make this claim for drug crimes where severity seems to feature more prominently
      in offender decision making. Likewise, for violent crimes that are more uncommon in the
      data, a considerable degree of uncertainty remains regarding the relative magnitudes of
      these parameters.
         Several other results are worth noting. First, for four of the five dependent variables,
      we cannot distinguish the relative importance of social versus personal rewards of crime.
      The exception is for violent crimes where we conclude individuals seem to be more
      responsive to social rather than to personal rewards. Second, for acquisitive and violent
      crimes, we can conclude that the social rewards of crime are more strongly associated
      with offending than with sanction severity. For acquisitive crimes, we also can conclude
      that personal rewards are more strongly associated with offending than with severity.

      HETEROGENEITY
         For the full sample of individuals, table 2 provides strong descriptive evidence in favor
      of offender rationality in this sample. A natural extension is to consider whether these
      findings differ for theoretically important subgroups. Table 3 reports results by using a
      variety of all crimes as the dependent variable for seven subgroups within our sample:
      high-risk individuals, low-risk offenders, males, females, and White, Black, and Hispanic
      offenders. We highlight three primary conclusions. First, in each case, we can reject the
      null hypothesis that rational choice has no predictive power at a = .01, which suggests that
      the model yields some predictive validity across each subpopulation. 9 Second, although


       9.   We also conducted similar analyses for each subgroup by using the other dependent variables (i.e.,
            theft/robbery, drug crimes, violent crimes, and share of legal earnings). In the interest of brevity,
            we omit these results but note they are available as part of the online supporting information in
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      Table 3. Model-Based Tests of Rational Choice Theory: Subgroup
               Analyses for All Crimes Variety Score
                                                (1)         (2)       (3)        (4)       (5)         (6)         (7)
      Variable                               High Risk   Low Risk    Males     Females    Whites     Blacks     Hispanics
      Certainty of Apprehension (P)           -. 101*    -. 153**   -. 124**   -. 302**   -. 226**   -. 081*     -. 136**
                                               (.047)    (.028)      (.026)    (.077)     (.053)      (.038)      (.046)
      Severity of Sanction (f)                   .005    -. 016     -. 012       .074       .020     -. 016      -. 009
                                               (.037)    (.028)      (.023)    (.091)     (.050)      (.033)      (.042)
      Social Rewards (Y1)                       .120"*     .197**     .169**     .225*      .156**     .135**      .218*
                                              (.037)     (.034)      (.026)    (.100)     (.049)      (.040)     (.049)
      Personal Rewards (Y2)                     .44*       .160**     .146*      .115       .158"*     .147*#      .159**
                                              (.034)     (.027)      (.022)    (.092)     (.045)      (.038)     (.038)
      Joint Tests of Model Parameters
        X2 statistic on model parameters      41.7**     107.2**    120.1**    26.5**     63.2**     31.7**      47.5**
      X2 Tests on Individual Restrictions
        P=f                                    3.2 t      11.4**     10.8**     9.4**     12.8**       1.7        4.0*
        P = -Y1                                  .1          .9       1.4         .3        .8          .9        1.7
        P=-Y2                                    .6          .0        .4       2.5         .9         1.6         .1
        f= -Y1                                 6.4*       14.8"*     19.0"*      4.6*      5.4*       4.9*       10.2**
        f= -Y2                                 8.1*       12.1*      16.0**     2.0        6.6*       6.9**       5.8*
        Y1 = Y2                                 .2          .7         .4          .5       .0          .1         .9
      Cross-sectional n                         318        647        870        95         208       391         325
     NOTES: Estimates presented are regression coefficients, and cluster-robust standard errors that account for
     within-respondent dependence are reported in parentheses below the coefficient estimates. In columns (1)-(7),
     we report the results of a Poisson regression on the variety of all crimes a respondent reports having committed
     during a recall period on four behavioral parameters implicit in rational choice theory. Each column presents
     a separate subgroup analysis according to risk, gender, or race. The z score of each behavioral parameter is
     used for ease of interpretation. All models condition on the respondent's age, the percentage of a respondent's
     time spent in custody, as well as additional control variables and interacted site-by-period and respondent fixed
     effects.
     tp < .10; *p < .05; **p < .01 (two-tailed).


     our sample of females is small (95 cross-sectional), women seem to be highly sensitive to
     changes in the certainty of apprehension. A 1 standard deviation increase in certainty is
     expected to reduce offending by -26 percent. At the same time, women seem to be less
     sensitive to the personal rewards of crime. Instead, they are highly responsive to perceived
     changes in the social rewards, providing some evidence that women's participation in
     criminal activity is more tied to the perceptions of their peers. Third, and perhaps most
     importantly, we observe the relative homogeneity of the results by race. Although several
     individual parameter estimates seem to differ by subgroup, overall, the model seems to
                                                                           10
     be equally predictive for White, Black, and Hispanic respondents.
        Tables 4 and 5 provide tests of differential deterrence across both crime types and sub-
     groups. Table 4 presents p values from tests of cross-equation restrictions for each of

           tables S3-S6. To summarize, including all crimes outcome, five dependent variables and seven
           subgroups generated 35 unique tests of offender rationality. In 28 out of 35 tests, we rejected the
           null hypothesis that rational choice has no predictive power at the a = .05 level. Only 3 of the 35
           tests yield an insignificant test statistic at ca= .10.
       10. An exception is acquisitive crimes for Black respondents (not shown in the current output although
           available as part of the online supporting information). For these respondents, the model does not
           have predictive power. In particular, certainty of capture seems not to matter with crime largely
           driven by perceived personal rewards.
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     Table 4. Tests of Cross-Equation Restrictions
                                                            (2)                       (3)                      (4)
                                                         Theft and                   Drug                    Violent
     Variable                                            Robbery                    Crimes                   Crimes
     A. Certainty of Apprehension (P)
       Theft and Robbery                                    -                          .33                     .87
       Drug Crimes                                         .33                         -                       .51
       Violent Crimes                                      .87                         .51                      -
     B. Severity of Sanction (f)
       Theft and Robbery                                    -                          .11                     .83
       Drug Crimes                                         .11                         -                       .47
       Violent Crimes                                      .83                         .47                      -
     C. Social Rewards (YI)
       Theft and Robbery                                    -                          .29                     .01*
       Drug Crimes                                         .29                          -                      .21
       Violent Crimes                                      .01**                       .21                      -
     D. Personal Rewards (Y2)
       Theft and Robbery                                    -                          .15                     .76
        Drug Crimes                                        .15                          -                      .16
       Violent Crimes                                      .76                         .16                      -
     Cross-sectional n                                     752                        675                      551
     NOTES: Table tests cross-equation restrictions for the four key parameters in our model of rational choice.
                                                        2
     Each entry refers to the p value arising from a X test of the null hypothesis that a given parameter is equal
     across Poisson regression models for different crime types. These are tests of the equality of the parameters in
     different columns of table 2. For example, Panel C reports that we can reject (p < .01) that the social rewards
     parameter is equal in the theft and violent models.
     **p < .01 (two-tailed).


     Table 5. Tests of Cross-Group Differences-All Crimes (Variety)
                                    (1)                  (2)             (3)                (4)
                                Certainty of         Severity of        Social            Personal          Cross-
     Variable                 Apprehension (P)       Sanction (f)    Rewards (Y1)       Rewards (Y2)      sectional n
     High risk / Low risk            .34                 .65               .13               .71              965
     Male / Female                   .03*                .36               .59               .74              965
     White / Black                   .03*                .55               .74               .85              591
     White / Hispanic                .20                 .66               .37               .99              533
     Black / Hispanic                .36                 .90               .19               .82              716
     NOTES: Table tests whether each of the four key parameters of our models of rational choice in table 3 differs
     by subgroup. For each pair of subgroups (e.g., male and female respondents), each entry refers to the p value
                      2
     arising from a X test of the null hypothesis that the two subgroups have equal parameter values for the all
     crimes variety outcome.
     *p < .05 (two-tailed).


     the four model parameters and each of the three crime types we consider. For any two
     crime types, the null hypothesis is that the parameter is equal for each crime type. For
     example, we might wish to know whether the certainty parameter is larger for acquisitive
     crimes than it is for drug crimes. Panels A, B, and D present evidence that, with respect
     to certainty, sanction severity, and personal rewards, we cannot reject the equality of
     any of the cross-equation parameter estimates. Thus, evidence that sanction severity is
     more strongly associated with some crimes than with other crime types is best regarded
     as speculative. The only evidence of differences we observe across crime types is that so-
     cial rewards seem to be more important for violent crimes as compared with theft/robbery
     crimes. In sum, the rational choice model of offending that we have specified seems to be
     equally similar for different kinds of offenses.
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      Table 6. Model-Based Tests of Rational Choice Theory: Robustness
               Checks
                                                  (1)                 (2)                (3)                 (4)
                                           Poisson without       Poisson with         Negative            Ordinary
                                             Interaction          Interaction         Binomial          Least Squares
      Variable                                  (P xJ)              (P x J)         Specification       Specification
      Certainty of Apprehension (P)            -. 138**             -. 141**           -. 139**            -. 103**
                                                (.025)               (.025)            (.022)               (.020)
      Severity of Sanction ()                  -. 010               -. 019             -. 009              -. 012
                                                (.022)              (.023)             (.017)               (.015)
      Interaction (P x f)                                           -. 026                -
                                                                    (.020)                -
      Social Rewards (Y1)                         .173**              .171**              .195**            .079**
                                                (.026)              (.026)              (.025)             (.019)
      Personal Rewards (Y2)                       .152**              .153**              .153*             .170*
                                                (.022)              (.022)              (.021)             (.027)
      Cross-sectional n                            965                 965                 965               965
      NOTES: In columns (1) and (2), we report the results of a Poisson regression of the variety of all crimes a
      respondent reports having committed during a recall period on four behavioral parameters implicit in rational
      choice theory. The z score of each behavioral parameter is used for ease of interpretation. Column (1) presents
      estimates from the baseline model reported in column (1) of table 2. In column (2), we add an interaction
      term between P and f to the baseline model. Columns (3) and (4) test the robustness of our choice of Poisson
      regression. In column (3), we report estimates for a negative binomial regression estimated via conditional
      maximum likelihood. Column (4) reports estimates using ordinary least squares. In all cases, standard errors are
      clustered at the level of the respondent with the exception of the negative binomial model where the standard
      errors are bootstrapped.
      **p < .01 (two-tailed).


         Table 5 reports p values arising from formal tests of the equality of the model param-
      eters across subgroups for all crime varieties. Column (1) reports results for certainty,
      whereas columns (2), (3), and (4) report results for severity and the social and personal
      rewards of crime, respectively. Overall, we again see little difference across subgroups, in-
      dicating the relative ubiquity of the model across these different groups. With the notable
      exception that Whites seem to be more responsive to certainty than Blacks, we observe no
      difference in the remaining parameters across race. Moreover, little evidence exists that
      offenders who were identified at baseline as posing an especially high risk of delinquency
      operate differently than low-risk offenders. The other exception
                                                                    11
                                                                           is we find evidence that
      men and women differ in their responsiveness to certainty.

      SENSITIVITY ANALYSIS
        Finally, we consider whether the main results reported in table 2 are robust to certain
      specification choices. This set of results is reported in table 6 with the results of column

        11. Although we are careful to avoid making causal claims in this analysis, we do wish to acknowl-
            edge the issue of temporal ordering of our measures, whereby the offending outcomes and rational
            choice measures were observed contemporaneously. As a robustness check, we estimated an addi-
            tional set of the model specifications by using the variety score outcome in which we used lagged
            versions of the key rational choice measures (i.e., measured at time t - 1) for the full sample and
            each subsample. In 6 of the 8 models, we could reject a null hypothesis that rational choice has no
            predictive power at the a = .05 level. Only 1 of the 8 tests yielded an insignificant test statistic at
            a = .10.
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     1 in table 2 reproduced in column 1 of table 6 to ease comparisons. First, we consider
     a specification by using a variety of all crime for the full sample where we include the
     interaction between certainty and severity, to test whether the effect of severity is greater
     when certainty is greatest. This interaction directly falls out of Becker's (1968) model and
     has been suggested by extant literature. Results from the specification are reported in
     column (2). Although the sign of the coefficient on the interaction term (-.026) is in the
     theoretically expected direction, it fails to reach statistical significance. As such, evidence
     of a multiplicative relationship between certainty and severity is merely suggestive.
         Second, we considered the robustness of our estimates to our choice of a Poisson esti-
     mator. Column (3) reports results for the full sample by using conditional negative bino-
     mial regression. With the exception of the larger difference in magnitude of the coefficient
     on the social rewards, the results are similar with differences between coefficients across
     specification of .001. Column (4) reports estimates of ordinary least squares. Although
     the coefficients have a different interpretation and, as such, are not directly comparable,
     they yield a qualitatively similar story, again suggesting our choice of Poisson estimation
                     12
     is justifiable.


                                             CONCLUSION
        Although scholars promoting rational choice theory have made important contribu-
     tions to work in other social sciences, there has been some reluctance to accept it warmly
     within criminology. We think that the reluctance of many criminologists to embrace a
     rational choice model is that it has been misunderstood by critics who frequently claim
     that the rationalist assumptions of the theory are unreasonable for criminal behavior and
     that its conceptual net is cast too narrow, including only the formal costs and benefits of
     offending. Part of this mythos about rational choice theory must also, however, be un-
     derstood to have been reinforced by the way the theory has been empirically specified
     even by its proponents. Empirical models of so-called rational choice theory have only
     rarely moved beyond the consideration of what are really deterrence variables, and al-
     though some have tested more expansive versions of the theory (Matsueda, Kreager, and
     Huizinga, 2006; Piliavin et al., 1986), even these versions have omitted some important
     factors that are integral to rational choice theory. Our intent in this article is to pick up
     on a strain of thought first articulated by Piliavin et al. in 1986: "Unfortunately, despite
     numerous calls for a general theory of deterrence, nearly all of the empirical research on
     the issue takes as its framework 'a vague congery of ideas with no unifying factor other
     than their being legacies of two major figures in moral philosophy, Cesare Beccaria and
     Jeremy Bentham' (Gibbs, 1975: 5) ... [a] more fruitful approach to the issue of deter-
     rence would be to examine the relationship between formal sanctions and crime from
     within an explicit theoretical framework" (p. 101). Our ambition was to specify and test
     empirically a comprehensive rational choice model of crime and, in so doing, illustrate
     that the explanatory parts of the model are consistent with more sociological theories of


       12. We performed several additional robustness checks that included removing time-varying control
           variables. Without the full set of controls, the certainty and social and personal rewards param-
           eters are larger in magnitude, stressing the importance of the control variables we have chosen.
           Nevertheless, although the magnitudes vary, the results are again qualitatively similar.
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      crime and that it does not require that human beings act as homo economicus-strictly
      financial agents solely interested in the best price of things.
         With this motivation, several key findings emerged from our analysis. First, we found
      general support that individuals seem to be responsive to rational choice perceptions
      and that this held across different types of crimes, including aggressive crimes. More-
      over, these perceptions still held explanatory power even after taking account of time-
      stable unobserved heterogeneity between individuals, as well as multiple time-varying
      confounders. Second, we found that even when conditioning on observable heterogene-
      ity in terms of gender, race, and high- and low-offending risk, each of these subgroups
      was still responsive to these perceived risks, costs, and rewards. Third, we observed a
      large degree of homogeneity in terms of the magnitudes of the parameters across these
      subgroups, which suggests that there was little difference in how factors operate across
      different subgroups.
         We find that these adolescents with a history of serious criminal offending act in ac-
      cordance with the anticipated rewards and costs of offending and that this is as true for
      drug and violent offenses as it is for property crimes. We also found that these adoles-
      cents rationally reallocate their time in response to the expected changes in the benefits
      of legal and illegal activity. Although consistent with much previous research, the rewards
      of behavior generally carry somewhat greater weight than the costs, both are important
      influences on the youths' conduct. Finally, we find evidence of rational response to the
      contingencies of behavior across youths with different risk levels of criminal propensity,
      for both genders, and for Black, White, and Hispanic youth.
         In sum, we think we have posed a difficult test for the generality of rational choice
      theory, but a test it has passed. Our results would seem to confirm unambiguously our
      assertion that rational choice theory is as general a theory of crime as are social learning,
      social control, and strain theories. Moreover, our results, taken together with the prior
      work of Anwar and Loughran (2011); Matsueda, Kreager, and Huizinga (2006); and Pil-
      iavin et al. (1986), provide a substantial counterweight to the blunt conclusion reached
      by Pratt et al. (2006: 5) that "the effects of the variables specified by deterrence theory
      on crime/deviance are, at best, weak-especially in studies that employ more rigorous re-
      search designs." Moreover, our results also would seem to provide strong support for the
      core tenets of both situational crime prevention (Clarke, 1983) and a more recent theoret-
      ical model put forth by Nagin, Solow, and Lum (2015). We, however, caution RC scholars
      to be careful in making sure that their empirical models are faithful to the complexity of
      rational choice theory and that they include the full set of incentives and disincentives
      for legal and illegal conduct. Finally, we emphasize that often the failure of individuals
      to act in a fully rational manner is not necessarily an indictment of the entire theoretical
      paradigm of rational choice, but instead, it can provide important insight into heuristic
      devices and predictable deviations from rational behavior that may be useful in tweaking
      the theory.
         Our results also reveal an important consideration for future studies of criminal deter-
      rence, the bulk of which often have tended to offer hypotheses that typically are laid out
      in terms of a null hypothesis of no association between sanction cost/risk and offending.
      Any evidence in which this type of null hypothesis can be rejected tends to be taken as
      support for deterrence. Although such tests are perhaps weakly formed as is, our findings
      would suggest that the strong sensitivity of potential offenders to rewards to offending,
      both monetary and intrinsic, can easily offset any such weak deterrent effects of sanctions
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     and must be contemporaneously considered. As such, we advocate that future studies of
     offender decision making evolve beyond the somewhat narrow, current focus on costs and
     risk and bridge into deeper study of offending rewards and motivation, including studies
     of time preference, as it is clear that rewards and costs to crime are temporally distinct
     outcomes.

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                             SUPPORTING INFORMATION
       Additional Supporting Information may be found in the online version of this article at
     the publisher's web site:

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